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                               UNITED ST ATES JUDICIAL PA EL                     __:..F.....:l:..:L::--E_D___,
                                             on
                                MUL TIDISTRICT LITIGA TI N                             MAR 0 3 2017

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                                                                                            IS I HIC l Or CALIFORNIA
                                                                           SOUT             •                D~PUTY
IN RE: MIDLAND CREDIT MANAGEMENT,                                          BY
INC., TELEPHONE CONSUMER PROTECTION
ACT (TCPA) LITIGATION                                                                                MDL No. 2286



                                        (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO -127)



On October 11, 201 L the Panel transferred 2 civil action(s) to the United States District Court for
the Southern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 818 F.Supp.2d 1377 (J.P.M.L. 2011). Since that time, 288 additional action(s)
have been transferred to the Southern District of California. With the consent of that court, all such
actions have been assigned to the Honorable Michael M. Anello.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of California and assigned to
Judge Anello.

Pursuant to Rule 7. 1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Liti~ation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Southern District of California for the reasons stated in the order of October l L 201 L and, with the
consent of that court, assigned to the Honorable Michael M. Anello.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any paiiy files a notice of opposition with the Clerk of the
Panel within this 7-day period, the stay will be continued until further order of the Panel.



                           Inasmuch as no objection is   FOR THE PANEL:


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                           pending at this time, the
                           stay is lifted.


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IN RE: MIDLAND CREDIT MANAGEMENT,
INC., TELEPHONE CONSUMER PROTECTION
ACT (TCPA) LITIGATION                                                  MDL No. 2286



                 SCHEDULE CT0-127-TAG-ALONG ACTIONS



                     C.A.NO.      CASE CAPTION


PENNSYLVANIA EASTERN

  PAE       2       17-00666       DUVAL v. MIDLAND FUNDING LLC et al
  PAE       2       17-00667       CRUZ v. MIDLAND FUNDING LLC et al
  PAE       2       17-00668       AVESIAN v. MIDLAND FUNDING LLC et al
  PAE       2       17-00669       MORRIS v. MIDLAND FUNDING LLC et al
                                   RICHINO-BROWN v. MIDLAND FUNDING LLC et
  PAE       2       17-00670
                                   al
